             Case 2:20-cv-00983-TSZ Document 53 Filed 10/26/21 Page 1 of 5




                                                     THE HONORABLE THOMAS S. ZILLY
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 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 9

10   HUNTERS CAPITAL, LLC, a Washington
     limited liability company, HUNTERS           Case No. 2:20-cv-00983-TSZ
11   PROPERTY HOLDINGS, LLC, a
     Washington limited liability company;        STIPULATION AND ORDER
12   GREENUS BUILDING, INC., a                    REGARDING CLASS-
     Washington corporation; NORTHWEST            CERTIFICATION BRIEFING
13
     LIQUOR AND WINE LLC, a Washington
14   limited liability company, SRJ
     ENTERPRISES, d/b/a CAR TENDER, a
15   Washington corporation, THE RICHMARK
     COMPANY d/b/a RICHMARK LABEL, a
16   Washington company, ONYX
     HOMEOWNERS ASSOCIATION, a
17   Washington registered homeowners
     association, WADE BILLER, an individual,
18   MADRONA REAL ESTATE SERVICES
     LLC, a Washington limited liability
19
     company, MADRONA REAL ESTATE
20   INVESTORS IV LLC, a Washington
     limited liability company, MADRONA
21   REAL ESTATE INVESTORS VI LLC, a
     Washington limited liability company, 12TH
22   AND PIKE ASSOCIATES LLC, a
     Washington limited liability company,
23   REDSIDE PARTNERS LLC, a Washington
     limited liability company, OLIVE ST
24   APARTMENTS LLC, a Washington limited
25   liability corporation, and BERGMAN’S
     LOCK AND KEY SERVICES LLC, a


                                                                             LAW OFFICES
27   STIPULATION AND ORDER                                               CALFO EAKES LLP
     REGARDING CLASS-CERTIFICATION                                 1301 SECOND AVENUE, SUITE 2800
     BRIEFING - 1                                                    SEATTLE, WASHINGTON 98101
28                                                               TEL, (206) 407-2200 FAX, (206) 407-2224
     Case No. 2:20-cv-00983-TSZ
                Case 2:20-cv-00983-TSZ Document 53 Filed 10/26/21 Page 2 of 5




      Washington limited liability company, on
 1    behalf of themselves and others similarly
      situated,
 2

 3                                 Plaintiffs,

 4             vs.

 5    CITY OF SEATTLE,
                                   Defendant.
 6

 7

 8                                               STIPULATION

 9            The parties continue to engage in active discovery, including document production,

10   depositions, and other discovery. As part of that process, the parties have been meeting and

11   conferring regarding certain productions and depositions and have determined that it would

12   benefit the Court and the parties to delay the class-certification deadline by a few weeks. The

13   parties also believe that it would benefit the Court and the parties to modestly expand the briefing

14   schedule and page limits on the briefing of Plaintiffs’ anticipated motion to allow the parties to

15   fully advise the Court about the issues surrounding class certification. The parties therefore

16   stipulate to the following schedule and page limits (which do not require the adjustment of any

17   other dates on the case schedule), and request that the Court enter the proposed order set forth

18   below:

19

20   Deadline for any motions related to class certification:             January 13, 2022

21   Deadline for oppositions to motions on class certification:          February 7, 2022

22   Deadline for reply in support of motions on class certification:     February 18, 2022

23

24   Page limit for any motions related to class certification:                      27

25   Page limit for oppositions to motions on class certification:                   35


                                                                                        LAW OFFICES
27    STIPULATION AND ORDER                                                         CALFO EAKES LLP
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      Case No. 2:20-cv-00983-TSZ
               Case 2:20-cv-00983-TSZ Document 53 Filed 10/26/21 Page 3 of 5




 1   Page limit for replies in support of motions on class certification:            20

 2
            STIPULATED AND AGREED TO this 22 day of October, 2021.
 3

 4
                                            By /s/ Tyler S. Weaver
 5
                                              Patricia A. Eakes, WSBA #18888
 6                                            Angelo J. Calfo, WSBA #27079
                                              Tyler S. Weaver, WSBA #29413
 7                                            Gabe Reilly-Bates, WSBA #52257
                                              Andrew DeCarlow, WSBA #54471
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 9                                            Seattle, WA 98101
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                                            Attorneys for Plaintiffs
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16
                                            PETER S. HOLMES
17                                          Seattle City Attorney

18                                          By:/s Joseph Groshong
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                                              E-mail: Joseph.Groshong@seattle.gov
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24                                          -and-

25


                                                                                        LAW OFFICES
27    STIPULATION AND ORDER                                                         CALFO EAKES LLP
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      Case No. 2:20-cv-00983-TSZ
            Case 2:20-cv-00983-TSZ Document 53 Filed 10/26/21 Page 4 of 5




 1                                   HARRIGAN LEYH FARMER & THOMSEN LLP
 2
                                     By /s Shane Cramer
 3                                     Arthur W. Harrigan, J., WSBA #1751
                                       Tyler L. Farmer, WSBA #39912
 4                                     Kristin E. Ballinger, WSBA #28253
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11

12                                   Attorneys for Defendant City of Seattle

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                                                                                LAW OFFICES
27   STIPULATION AND ORDER                                                  CALFO EAKES LLP
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     Case No. 2:20-cv-00983-TSZ
                Case 2:20-cv-00983-TSZ Document 53 Filed 10/26/21 Page 5 of 5




 1                                                 ORDER

 2           In consideration of the parties’ stipulation, the Court hereby amends the case schedule as

 3   follows:

 4

 5   Deadline for any motions related to class certification:               January 13, 2022

 6   Deadline for oppositions to motions on class certification:            February 7, 2022

 7   Deadline for replies in support of motions on class certification:     February 18, 2022

 8

 9           The briefs on class certification shall be subject to the following page limitations:

10

11   Motions related to class certification:                                27 pages

12   Oppositions to motions on class certification:                         35 pages

13   Replies in support of motions on class certification:                  20 pages

14

15           This Order shall not affect any other dates scheduled in this case, nor the page limits of

16   any other briefs to be filed in this case.

17

18   DATED: October 25, 2021

19

20

21
                                                             A
                                                             Thomas S. Zilly
22                                                           United States District Judge
23

24

25


                                                                                         LAW OFFICES
27    STIPULATION AND ORDER                                                          CALFO EAKES LLP
      REGARDING CLASS-CERTIFICATION                                            1301 SECOND AVENUE, SUITE 2800
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